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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GLEN ELLYN PHARMACY, INC.,                           )
on behalf of itself and a class,                     )
                                                     )
               Plaintiff,                            )      11 CV 6702
                                                     )
               v.                                    )
                                                     )      Honorable Judge Lefkow
EXCHANGERX, LLC,                                     )      Magistrate Judge Keys
and JOHN DOES 1-10,                                  )
                                                     )
               Defendants.                           )


                      PLAINTIFF GLEN ELLYN PHARMACY, INC.’S
                        CORPORATE DISCLOSURE STATEMENT

               Plaintiff, Glen Ellyn Pharmacy, Inc., in compliance with Fed. R. Civ. P. 7.1 and

Local Rule 3.2 certifies the following:

               1.      Glen Ellyn Pharmacy, Inc. is a privately held corporation.

               2.      Glen Ellyn Pharmacy, Inc. does not have any publicly held affiliates nor

does any public corporation hold more than 10% of its stock.


Dated: September 23, 2011
                                             Respectfully submitted,

                                             /s/ Dulijaza Clark
                                             Dulijaza (Julie) Clark

Daniel A. Edelman
Dulijaza (Julie) Clark
EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
120 S. LaSalle Street, 18th Floor
Chicago, Illinois 60603
(312) 739-4200
(312) 419-0379 (FAX)
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                                CERTIFICATE OF SERVICE

               I, Dulijaza Clark, certify that on September 23, 2011, I caused a true and accurate
copy of the foregoing document to be served, via hand delivery by Process Server, on the
following party:


       ExchangeRx, LLC
       c/o Registered Agent Chad Ohira or individual otherwise authorized to accept service
       8925 W. Post Road, Suite 120
       Las Vegas, NV 89141


                                                     /s/ Dulijaza Clark
                                                     Dulijaza (Julie) Clark


Daniel A. Edelman
Dulijaza (Julie) Clark
EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
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